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               ORAL ARGUMENT NOT YET SCHEDULED
                          No. 20-7020

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


                          CHRISTOPHER CHANDLER

                                          Plaintiff-Appellant,

                                     v.

           DONALD BERLIN; INVESTIGATIVE CONSULTANTS, INC. AND
           INVESTIGATIVE CONSULTANTS, INC. OF WASHINGTON DC

                                          Defendants-Appellees.


               On Appeal from the United States District Court
                       for the District of Columbia
                     (Case No. 1:18-cv-02136-APM)


              REPLY BRIEF OF PLAINTIFF-APPELLANT


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September 8, 2020
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to Circuit Rule 28(a)(1), Plaintiff-Appellant Christopher Chandler

respectfully states as follows:

      A.     Parties and Amici

      Plaintiff-Appellant: Christopher Chandler.

      Defendants-Respondents: Donald Berlin; Investigative Consultants, Inc.; and

Investigative Consultants, Inc. of Washington DC.

      There are no amici in this case to date.

      B.     Rulings Under Review

      Plaintiff-Appellant seeks review of the following rulings by District Court

Judge Hon. Amit P. Mehta:

      1.     April 3, 2019 Memorandum Opinion and Order granting in part
             Defendants’ Motion for Summary Judgment (DE 24, A416-26;
             unpublished);

      2.     January 30, 2020 Memorandum Opinion (DE 37, A481-96; to be
             published at Chandler v. Berlin, 436 F. Supp. 3d 322 (D.D.C. 2020));
             and

      3.     January 30, 2020 Order granting Defendants’ Motion for Summary
             Judgment (DE 38; A497; unpublished).

      C.     Related Cases

      This case has not previously been before this Court or any other court other

than the district court below. The undersigned counsel are not aware of any related

cases pending in this Court or any other court.


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            INTRODUCTION AND SUMMARY OF ARGUMENT

      Defendants offer no valid reasons for affirming the district court’s erroneous

decision. Rather than engage the law—and evidence—that make clear the district

court’s multiple reversible errors in granting Defendants summary judgment,

Defendants confuse the issues, make arguments without any caselaw support

(because there is none), and raise factual disputes that highlight the district court’s

errors in granting summary judgment.

      Under settled law—correctly applied—Mr. Chandler is entitled to his day in

court to prove the merits of his defamation claims against Defendants.             By

erroneously dismissing Mr. Chandler’s defamation claims on threshold procedural

issues wholly unconnected to their merits, the district court improperly deprived

Mr. Chandler of that opportunity, notwithstanding his extraordinary efforts to

identify Defendants and hold them accountable for their tortious actions. Defendants

fabricated from whole cloth among the most damaging allegations possible against

Mr. Chandler, accusing a person who has dedicated his life and career to

philanthropic efforts helping the world’s most vulnerable populations of engaging

in among the worst crimes possible, including espionage and organized crime—

allegations so serious they triggered an investigation of Mr. Chandler by the

British Parliament. And while British MPs ultimately concluded that Mr. Chandler




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“is an innocent man” who “has been unjustly dealt with,”1 and Switzerland’s chief

prosecutor likewise concluded that Mr. Chandler engaged in no wrongdoing,2

Defendants’ false accusations continue to devastate Mr. Chandler’s previously

unblemished reputation.       The district court’s award of summary judgment to

Defendants must be reversed.

                                    ARGUMENT

I.      Defendants Cannot Rescue The District Court’s Erroneous Holding
        That, As A Matter of Law, Defendants Could Not Reasonably Foresee
        That Tabloid Journalist And Prolific Author Eringer Might Republish
        Their Defamatory Dossier.

        Defendants offer no valid reasons for affirming the district court’s holding

that they could not have reasonably foreseen that Eringer might republish their

salacious Dossier.

        A.    Defendants Simply Parrot the District Court’s Erroneous Reasons
              for Holding Eringer’s Republication of Their Dossier
              Unforeseeable—Without Offering Any Supporting Authority.

        Defendants offer no caselaw to justify the district court’s reasons for holding

Eringer’s republication of Defendants’ Dossier unforeseeable as a matter of law or




1
     HC Deb (22 July 2020) (678) col. 2233, available at
https://hansard.parliament.uk/Commons/2020-07-22/debates/5B97EE49-C25D-
46C2-B5F5-
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ution-D97285C2-BAC1-4DFD-83DE-3B1D23F8BCF2.
2
    A282; DE 22-2, 22-3.


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to rebut the caselaw in Mr. Chandler’s Principal Brief (at 32-38) demonstrating the

district court’s errors. Defendants simply repeat the district court’s erroneous

reasoning—while conceding a key premise undercutting their main argument,

ignoring or failing to distinguish key caselaw that compels reversal, and creating

(without citation) requirements for rendering republication foreseeable that do not

exist.

         To begin, Defendants misstate the standard for whether republication of a libel

is reasonably foreseeable. As this Court has explained, “[t]he maker of a slanderous

statement may be held accountable for its republication if such republication was

reasonably foreseeable.” Tavoulareas v. Piro, 759 F.2d 90, 136 n.56 (D.C. Cir.

1985), vacated in part on other grounds, 763 F.2d 1472 (D.C. Cir. 1985), and aff’d,

817 F.2d 762 (D.C. Cir. 1987); Oparaugo v. Watts, 884 A.2d 63, 73 (D.C. 2005)

(“The original publisher of a defamatory statement may be liable for republication

if the republication is reasonably foreseeable.”). Defendants seize on the words

“such” in Tavoulareas and “the” in Oparaugo and assert that for republication to be

foreseeable, the original publisher must have foreseen the exact manner of future

republication—which, contrary to Defendants’ contention, would necessarily

require the original publisher to also foresee the time and place of republication. But

Defendants cite no caselaw imposing such a requirement, because that is not the law.

See Shepard v. Nabb, 581 A.2d 839, 846 (Md. Ct. Spec. App. 1990) (holding that



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where plaintiff “aver[red] that [defendant’s defamatory] remarks ... were made with

the intent that they be published in [a specific issue of a specific newspaper], ... a

jury could [] find that the republication of those remarks in later issues of that

newspaper or another [newspaper] was a natural and probable consequence of

[making] the initial remarks,” and, thus, reasonably foreseeable).

      Contrary to Defendants’ proffered rule, D.C. law is clear that in determining

whether a future harm was foreseeable, “[a] defendant need not have foreseen the

precise injury, nor need he have notice of the particular method in which harm would

occur, if the possibility of harm was clear to the ordinary prudent eye.” District of

Columbia v. Perez, 694 A.2d 882, 886 (D.C. 1997); Psychiatric Inst. of Wash. v.

Allen, 509 A.2d 619, 625 (D.C. 1986) (quoting Kendall v. Gore Props., Inc., 236

F.2d 673, 682 (D.C. Cir. 1956)).3 This makes sense: because “[f]oreseeability is

measured as of the time of the defendant’s wrongdoing” (i.e., original publication),

Crabbs v. Scott, 800 F. App’x 332, 338 (6th Cir. 2020); see also cases cited infra



3
  The Circuit Courts are in accord. E.g., Smith v. Christus Saint Michaels Health
Sys., 496 F. App’x 468, 473 (5th Cir. 2012) (“Foreseeability requires only that the
general danger, not the exact sequence of events that produced the harm, be
foreseeable.”); Thompson v. State Farm Mut. Auto. Ins. Co., 789 F. App’x 90, 92
(10th Cir. 2019); O’Donnell v. United States, 736 F. App’x 828, 832 (11th Cir.
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Vanderbilt Univ., 142 F. App’x 246, 252 (6th Cir. 2005); Malave-Felix v. Volvo Car
Corp., 946 F.2d 967, 972 (1st Cir. 1991).

                                          4
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page 6 & n.4, Defendants’ desired rule would make demonstrating the foreseeability

of republication virtually impossible, as almost no plaintiff would be able to

demonstrate—much less have a basis to allege—that a defendant should have

foreseen that his libel would be republished in a specific manner (i.e., in a specific

article, broadcast, statement, etc.) in a specific context under specific circumstances

on a specific occasion. That is not the law. Shepard, 581 A.2d at 846. Here, as

explained below, “the possibility of [future] harm”—Eringer’s republication of

Defendants’ libel—was reasonably foreseeable to Defendants, which is all that is

required for Defendants to be liable for Eringer’s republication.

      Defendants’ main argument that Eringer’s republication of their Dossier was

unforeseeable as a matter of law is—just like the district court reasoned—that

“14 years [elapsed] between [Defendants’] publication [of the Dossier] and

[Eringer’s] republication” of it. (Defs. Br. 21, 26-29; A422.) But Defendants

concede that whether republication was foreseeable must be assessed at the time of

Defendants’ original publication. (Defs. Br. 2 (Issue Statement: “Did the District

Court correctly conclude that Robert Eringer’s ... republication of [Defendants’

Dossier] was not reasonably foreseeable when [Defendants] sent [it] to Eringer ... in

2003[?]”)). And that concession is correct, because in tort law “‘foreseeable’

means ... probable ex ante,” Beul v. ASSE Int’l, Inc., 233 F.3d 441, 447 (7th Cir.

2000), and foreseeability “is measured as of the time of the defendant’s



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wrongdoing,” Crabbs, 800 F. App’x at 338; accord Oceanic Steam Nav. Co. v.

Aitken, 196 U.S. 589, 595-96 (1905) (Holmes, J.) (Foreseeability “must be

determined upon the facts as they appeared at the time[.]”)4

      It necessarily follows that the passage of time after Defendants published their

Dossier to Eringer cannot affect the foreseeability to Defendants of Eringer’s

republication of it. (Principal Br. 32-35.) Future events cannot make foreseeability

at an earlier date more or less likely. Defendants offer no authority allowing

hindsight assessment of foreseeability because there is none. And the district court’s

explanation that the passage of time after Defendants’ original publication of their

Dossier to Eringer was its “most important[]” reason for holding Eringer’s

republication unforeseeable (A422), requires reversal.5

      Defendants next contend, like the district court stated, that Eringer’s

republication was unforeseeable because Defendants “fail[ed] in 2003 to anticipate


4
  See also, e.g., James v. Meow Media, Inc., 300 F.3d 683, 692 (6th Cir. 2002)
(“Whether an event was reasonably foreseeable is not for us to determine with the
assistance of hindsight.”); First Interstate Bank of Ariz., N.A. v. Murphy, Weir &
Butler, 210 F.3d 983, 989 (9th Cir. 2000) (similar); Ballance v. Wal-Mart Stores,
Inc., 178 F.3d 1282 (4th Cir. 1999) (foreseeability measured with “foresight”);
Zebley, 625 F.3d at 457.
5
 Defendants, in trying to distinguish Green v. Cosby, 138 F. Supp. 3d 114, 122-23,
127 (D. Mass. 2015) (holding republication eleven years later reasonably
foreseeable), attempt to manufacture a requirement that for republication to be
foreseeable, it must be made for the same “purpose” as the original publication.
(Defs. Br. 27-28.) But Defendants’ “same purpose” requirement has no support in
any caselaw (and Defendants cite none).


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the relevance of the [Dossier] to the Brexit debate” in 2017. (Defs. Br. 29-31; A423-

24.)   But that is irrelevant because, again, the pertinent question is whether

republication was foreseeable at the time Defendants published the Dossier to

Eringer. And, while “newsworthiness” is not required for republication to be

foreseeable, both Defendants and the district court ignore the voluminous caselaw

holding that allegations like those in Defendants’ Dossier accusing Mr. Chandler of

involvement in organized criminal activities, blackmail, and espionage are

“newsworthy.” E.g., Lorain Journal Co. v. Milkovich, 474 U.S. 953, 963 n.8 (1985)

(reports involving espionage are “newsworthy”); Bement v. N.Y.P. Holdings, Inc.,

307 A.D.2d 86, 90 (2003) (same); Alfano v. NGHT, Inc., 623 F. Supp. 2d 355, 359

(E.D.N.Y. 2009) (“The activities of organized crime ... have long been a matter of

public interest” and are “newsworth[y].”); LaBruzzo v. Associated Press, 353 F.

Supp. 979, 984 (W.D. Mo. 1973) (same); Lowe v. Hearst Commc’ns, Inc., 487 F.3d

246, 251 (5th Cir. 2007) (allegations of blackmail are “newsworth[y]”); Gay v.

Williams, 486 F. Supp. 12, 16 (D. Alaska 1979) (allegations of criminality are

newsworthy).

       Also like the district court, Defendants contend that Eringer’s republication of

the Dossier was unforeseeable as a matter of law because they published it only to

Eringer rather than to a large audience and because they wrote “Confidential” on it.

(Defs. Br. 33-34; A423.) But Defendants recognize that such evidence is not



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“determinative” of the foreseeability of republication, and courts have repeatedly

held republications foreseeable despite “confidential” being written on the document

republished and the original publication not being widely disseminated.         E.g.,

Unsworth v. Musk, No. 18-cv-8048, 2019 WL 8220721, at *11 (C.D. Cal. Nov. 18,

2019); Tennenbaum v. Ariz. City Sanitary Dist., No. 10-cv-2137, 2013 WL 2422684,

at *12 (D. Ariz. June 3, 2013); Yarus v. Walgreen Co., No. 14-cv-1656, 2015 WL

1021282, at *4 n.1 (E.D. Pa. Mar. 6, 2015). Yet Defendants—like the district

court—cite no other evidence to support the conclusion that Eringer’s republication

was unforeseeable as a matter of law. So while Defendants recognize that merely

writing “confidential” on a document and refraining from publishing it to a large

audience does not immunize a person from republication liability, they ask this Court

to hold precisely that.

      Finally, Defendants fall back on a generic argument that courts “regularly

decide foreseeability issues on summary judgment.”           (Defs. Br. 34.)     But

Defendants’ caselaw is inapposite. The D.C. cases Defendants cite address the

foreseeability of criminal acts by third persons, for which—unlike the foreseeability

of republication—D.C. law requires a more “demanding,” “heightened showing” of

foreseeability “because of the extraordinary nature of criminal conduct.” Workman

v. United Methodist Comm., 320 F.3d 259, 263 (D.C. Cir. 2003); Bruno v. Western

Union Find. Servs., Inc., 973 A.2d 713, 718 (D.C. 2009); Beckwith v. Interstate



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Mgmt. Co., 82 F. Supp. 3d 255, 258 (D.D.C. 2015). The two other cases Defendants

cite address, in dicta, the doctrine of “compelled self-publication,” which D.C. law

does not recognize. Beroiz v. Wahl, 84 Cal. App. 4th 485, 487-88 (Ct. App. 2000);

MSK EyEs Ltd. v. Wells Fargo Bank, Nat’l Ass’n, 546 F.3d 533, 542-44 (8th Cir.

2008).6

      B.     Defendants Cannot Avoid the District Court’s Failure to
             Consider—and Credit—Evidence That Courts Have Repeatedly
             Held Make Republication of a Libel Reasonably Foreseeable.

      The district court’s holding that it was unforeseeable as a matter of law to

Defendants that Eringer would republish their Dossier must also be reversed because

the court failed to credit key evidence of the types that courts have repeatedly held

render republication of a libel reasonably foreseeable (Principal Br. 25-31)—and

Defendants provide no reason to conclude otherwise.

      Publication To A Journalist. Defendants do not dispute that when a person

publishes a defamatory statement to a journalist, “it [is] reasonably foreseeable that

as reporters they might republish the statements.” Tavoulareas, 759 F.2d at 136

n.56; see also e.g., Unsworth, 2019 WL 8220721, at *11; Wright v. Bachmurski, 29




6
 El-Hadad v. Embassy of United Arab Emirates, No. 96-cv-1943, 2006 WL 826098,
at *17 (D.D.C. Mar. 29, 2006) (District of Columbia has not adopted the doctrine of
“compelled self-publication,” which “is not a widely accepted theory” of
republication), aff’d in relevant part, rev’d in part on other grounds sub nom.
El-Hadad v. United Arab Emirates, 496 F.3d 658 (D.C. Cir. 2007).


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P.3d 979, 985 (Kan. Ct. App. 2001); Wiggins v. Creary, 475 So. 2d 780, 782 (La.

Ct. App. 1985). Nor could Defendants contend otherwise.

      Defendants’ only response is to make a factual argument that Eringer’s

republication of their Dossier was not reasonably foreseeable because Eringer was

not a journalist in/around 2002 when he contracted with them to author it. (Defs.

Br. 31-33.) In so doing, Defendants ask this Court to ignore record evidence that

Eringer was a journalist. But, on summary judgment, this Court must “view[] the

evidence in the light most favorable to [Mr. Chandler] and draw[] all reasonable

inferences in [his] favor.” Stoe v. Barr, 960 F.3d 627, 629 (D.C. Cir. 2020). And

there is substantial evidence that Eringer was a journalist in/around 2002 (Principal

Br. 27-28), including evidence that Eringer:

   • By 2002 had published numerous books, including many focused on Monaco,
     espionage, and “investigations,” and continued to do so even after 2002
     (A265-66, ¶¶3, 6, 8; A296-99; A301; A303);

   • In 2001 was nationally featured as “a fairly prolific author” by Salon
     Magazine (A408); and

   • Worked as a “freelance journalist” (A266, ¶3).

Indeed, Defendants’ effort to gin up a fact dispute about evidence that alone is

capable of rendering Eringer’s republication foreseeable (evidence the district court

failed to consider) highlights that summary judgment was improper.

      Publication Of Salacious/Sensational Allegations. Defendants likewise

do not dispute that salacious and sensational allegations are likely to repeated,


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thereby making republication reasonably foreseeable.      E.g., Murphy v. Boston

Herald, Inc., 865 N.E.2d 746, 764 (Mass. 2007); Davis v. Costa-Gavras, 580 F.

Supp. 1082, 1096 (S.D.N.Y. 1984); Moore v. Allied Chem. Corp., 480 F. Supp. 364,

376 (E.D. Va. 1979); Tumbarella v. Kroger Co., 271 N.W.2d 284, 290-91 (Mich.

Ct. App. 1978); Restatement (Second) of Torts § 576 cmt. d. Nor could they. And

Defendants do not dispute that allegations of espionage, organized-crime

involvement, and other criminal activities are salacious and sensational. Nor could

they. Yet that was the exact substance of Defendants’ defamatory statements.

(A349, A354-55; A68, ¶50.).

      Defendants’ only response is to misdirect by claiming that Mr. Chandler

argues that all “discreditable” statements may foreseeably be republished so as to

render the republication of any defamatory statement foreseeable because

“[d]efamation cases always involve ‘discreditable statements.’” (Defs. Br. 30-31.)

But that is not Mr. Chandler’s argument. While all defamatory statements may be

“discreditable” in that they harm one’s reputation, not all defamatory statements

involve allegations as sensational as the accusations of espionage, organized-crime

involvement, and other criminal activities in Defendants’ Dossier.

      Evidence Defendants Invited Eringer’s Republication.             Defendants,

remarkably, do not even address the evidence of their own statements to Eringer that

he should not rely on the Dossier’s allegations against Mr. Chandler until



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“confirmed by secondary sources” other than Defendants. (A403, ¶¶5-6.) In other

words, Defendants told Eringer to confirm the Dossier’s defamatory allegations with

others, thereby inviting him to repeat (i.e., republish) those allegations. That is

powerful evidence that it was foreseeable to Defendants that Eringer may republish

the Dossier’s defamatory allegations.

      Evidence Defendants Know Their Clients Repeat The Information

Defendants Provide. Defendants remarkably also do not address the evidence that,

based on their decades of experience (A263, ¶2; A267, ¶11; A347), they know that

information in the background reports they produce is often shared by their clients.

(A346-48.) Defendants know their clients use their reports to, among other things,

perform corporate due diligence, undertake compliance activities, and pursue

complex litigation—all of which involve (or may involve) repeating the purported

facts in those reports. (Id.) Indeed, Defendants explain that “all searches done by

ICI must be executed based upon a cognizable permissible purpose under ... State

and Federal laws” (A346), which would not include obtaining a background report

for one’s private curiosity. Simply put, Defendants know that their clients engage

their services to obtain information to use, which may involve sharing it with third

parties—i.e., republishing it. This is further evidence suggesting it was reasonably

foreseeable to Defendants that Eringer might republish their Dossier. E.g., Bolduc




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v. Bailey, 586 F. Supp. 896, 898, 901 (D. Colo. 1984); Liverpool v. Con-Way, Inc.,

No. 08-cv-4076, 2009 WL 1362965, at *10 (E.D.N.Y. May 15, 2009).

                                        ***

      Defendants offer no valid reasons for affirming the district court’s holding

that, as a matter of law, it was unforeseeable to Defendants that Eringer might

republish their Dossier. The district court’s grant of summary judgment with regard

to that republication should be reversed.

II.   Defendants Offer No Valid Reason To Affirm The District Court’s
      Erroneous Holding That Mr. Chandler’s Defamation Claim Based On
      Defendants’ Secret 2003 Publication Of Their Dossier To Eringer Is
      Time-Barred Despite Application Of The Discovery Rule.

      In an attempt to save the district court’s second erroneous holding—that

Mr. Chandler’s defamation claim against Defendants based on their secret

publication of their Dossier to Eringer is time-barred despite the application of

D.C.’s discovery rule—Defendants invoke inapposite caselaw, ask this Court to

apply inapplicable precedent, misconstrue that inapplicable precedent, and

fundamentally misstate the requirements of “due diligence” with regard to statutes

of limitations.   Defendants fail to carry their “heavy burden” of proving that

Mr. Chandler’s claim is time-barred. See Reeves v. Eli Lilly & Co., 368 F. Supp. 2d

11, 25 (D.D.C. 2005).




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        A.     Defendants’ Reliance on Estate of Chappelle Is Misplaced.

        Defendants first contend that Estate of Chappelle v. Sanders, 442 A.2d 157

(D.C. 1982), on which the district court did not rely, justifies the district court’s

holding. (Defs Br. 38-42.) But Chappelle is inapplicable.

        As an initial matter, Defendants do not dispute that under Diamond v. Davis,

680 A.2d 364, 381 (D.C. 1996), a plaintiff’s cause of action against a defendant does

not accrue until “the plaintiff has either actual notice of her cause of action or is

deemed to be on inquiry notice because if she had met her duty to act reasonably

under the circumstances in investigating matters affecting her affairs, such an

investigation ... would have led to actual notice.” Id. at 372. And Defendants agree

that a plaintiff has no “duty to investigate matters affecting her affairs” for statute of

limitations purposes until “the plaintiff actually knows, or with the exercise of

reasonable diligence would have known, of [1] some injury, [2] its cause-in-fact,

and [3] some evidence of wrongdoing.” Id. at 381; Defs.’ Br. 36.7 Only when the

plaintiff knows or through the exercise of reasonable diligence would have known

of (1) an injury, (2) its cause-in-fact, and (3) evidence of wrongdoing resulting in

that injury does the statute of limitations begin to run on a claim. Diamond, 680

A.2d at 381.




7
    Emphases added unless otherwise noted.


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      Chappelle simply recognized that when a plaintiff knows those three facts

(injury, its cause-in-fact, and wrongdoing), his cause of action accrues, even if the

defendant concealed his identity.       In Chapelle, plaintiff (administratrix of a

decedent’s estate) sued defendants, the driver and owner of a car, outside the

applicable limitations period, for causing the decedent’s death in a car accident. Id.

at 158. The plaintiff argued that the statute of limitations was tolled because the

driver provided a false name such that she did not know his identity until after the

limitations period elapsed. Id. The plaintiff did not dispute that she knew about

(1) the decedent’s injury (death), (2) its cause-in-fact (car accident), and (3) evidence

of wrongdoing (negligent driving); the only fact plaintiff did not know was the

driver’s identity. Id. The D.C. Court of Appeals held plaintiff’s claim time-barred

because “[plaintiff] ... does not allege that [defendants] concealed the existence of

a cause of action but rather, that they concealed their identities,” and

“[c]oncealment of the identity of parties liable, or concealment of the parties, has

been held not to constitute concealment of the cause of action and not to ... avoid

the running of the statute of limitations.” Id.

      This case, in contrast to Chappelle, is not one in which a plaintiff knows of an

injury, its cause-in-fact, and some evidence of wrongdoing and just does not know

the defendant’s identity. “Defendants do not contend” that Mr. Chandler knew of

the existence of their Dossier or their role in its preparation—i.e., the cause-in-fact



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of his injury and evidence of wrongdoing, and thus the injury caused by that

Dossier’s secret publication to Eringer. (DE 32-2 at 11; A491.) The only question

is whether Mr. Chandler’s knowledge that he may have defamation claims against

Eringer put him on inquiry notice of his claims against Defendants and, if so,

whether Mr. Chandler would have discovered, through the exercise of reasonable

diligence, (1) his injury (reputational harm), (2) its cause-in-fact (Defendants’

authorship of the Dossier and secret publication of it to Eringer), and (3) evidence

of Defendants’ wrongdoing (tortious publication) more than a year before he filed

this case. The answer is no, and the D.C. Court of Appeals has distinguished this

scenario from Chappelle. Diamond, 680 A.2d at 380 n.14.

      B.    Defendants Repeat the District Court’s Error: Mr. Chandler’s
            Knowledge of Defamation Claims Against Eringer Did Not Cause
            His Claims Against Defendants to Accrue.

      Defendants cannot save the district court’s erroneous holding that

Mr. Chandler’s knowledge that he could have potentially sued Eringer for

defamation based on statements Eringer made in his 2009 lawsuit, 2014 book, or

2016 blog post—in other words, Mr. Chandler’s knowledge that he could have

brought different claims against a different person based on different publications

at different times to different audiences causing different harm—caused his claims

against Defendants to accrue.




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      To begin, Defendants do not dispute that under D.C. law, “the plaintiff’s

knowledge of wrongdoing on the part of one [person] d[oes] not cause accrual of

action against another, unknown [person].” Diamond, 680 A.2d at 380; accord

Hobson v. Wilson, 737 F.2d 1, 36 (D.C. Cir. 1984). And Defendants concede that

although this Court recognized a limited exception to that rule in Fitzgerald v.

Seamans, 553 F.2d 220 (D.C. Cir. 1977), that exception only applies where two

people are (1) “responsible for the same harm” and (2) “closely connected, such as

in a superior-subordinate relationship,” Diamond, 680 A.2d at 380; Defs. Br. 42-48.

That agreed-upon law requires reversal.

            1.     Defendants Cannot Justify the District Court’s Application
                   of Fitzgerald Because Defendants’ Publication and Eringer’s
                   Republication of the Dossier Caused Separate Harms.

      This Court’s decision in Fitzgerald is inapplicable here because (as

Defendants’ concede) Fitzgerald’s exception to the general rule that a plaintiff’s

knowledge of wrongdoing by one person does not accrue his claims against another

person can only apply where those persons are “responsible for the same harm”—

and as the district correctly noted (before then incorrectly applying Fitzgerald),

“Eringer’s republications of the [Dossier] constitute different harms than

[Defendants’] initial publication of the [Dossier].” (A495.)

      This conclusion follows inexorably from settled D.C. law that “each

communication of [even] the same defamatory matter” whether “by the same



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defamer” or a separate person, and “whether to a new person or to the same person,

is a separate and distinct publication” that causes separate harm and supports

“a separate cause of action.” Keeton v. Hustler Mag., Inc., 465 U.S. 770, 774 n.3

(1984) (quoting Restatement (Second) of Torts § 577A cmt. a); see also Jankovic v.

Int’l Crisis Grp., 494 F.3d 1080, 1087 (D.C. Cir. 2007); Foretich v. Glamour, 753

F. Supp. 955, 960 (D.D.C. 1990).

      Notably, Defendants do not even attempt to dispute this law.                Rather,

Defendants’ only response is to argue (without legal citation or support) that “[i]f

the [Dossier] is the basis for Eringer’s charges, it follows that it is also the basis for

any repetition of those charges and is therefore responsible for any harm caused by

that repetition,” and that “[t]he discovery rule does not permit a plaintiff who is

aware of an injury, its cause and evidence of wrongdoing to wait to see if additional

harm occurs before filing suit.” (Defs. Br. 47-48.)

      But in so arguing Defendants fundamentally misunderstand—and ask this

Court to overturn—the settled D.C. law that “each communication of [even] the

same defamatory matter” (i.e., each publication or republication of a libel) “is a

separate and distinct publication” that causes separate harm and supports “a separate

cause of action.” Keeton, 465 U.S. at 774 n.3; Jankovic, 494 F.3d at 1087; Foretich,

753 F. Supp. at 960. This is not a case in which the plaintiff suffered a single injury

and waited to see if it would worsen before suing, as in the non-defamation cases



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Defendants cite.8 And while Defendants may not like the law that republication of

a libel constitutes a separate tort causing separate harm giving rise to a separate cause

of action, they do not and cannot dispute it. And that law compels the conclusion

that the district court erred in applying Fitzgerald here.

             2.     Even if Fitzgerald Applied, Defendants, Like the District
                    Court, Misconstrue Its “Closely Connected” Requirement.

      Under D.C. law, a plaintiff’s knowledge of wrongdoing by one person

does not accrue his claims against another person. And although Fitzgerald carved

out an exception to that rule, it only applies where two putative defendants are

“closely connected, such as in a superior-subordinate relationship”—but Defendants

and Eringer are not “closely connected” under Fitzgerald. (Principal Br. 43-48.)

      The Fitzgerald Court, in assessing whether two persons are “closely

connected” such that a plaintiff’s knowledge of a claim against one accrues his claim

against the other, focused on whether there was a relationship between those two

persons and the character and extent of that relationship. (Id.) Thus, this Court held

that Fitzgerald’s knowledge of his conspiracy claim against certain top Air Force

officials accrued his claim against “lesser fry” Air Force officials, stressing the




8
  Nelson v. Am. Nat’l Red Cross, 26 F.3d 193, 197 (D.C. Cir. 1994) (single harm
(HIV infection); plaintiff waited to sue until condition deteriorated); Colbert v.
Georgetown Univ. Hosp., 632 A.2d 119 (D.C. 1994) (single harm (negligent
removal of cancer); plaintiff waited to sue until cancer metastasized).


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closeness of their connection as members of the same organization and reasoning

that “it would be anomalous and unjust to allow [Fitzgerald] to begin an action

against lesser fry [officials] merely because their identity and participation were

earlier unknown.” Fitzgerald, 553 F.2d at 229. By contrast, that knowledge did not

accrue Fitzgerald’s claim against a White-House-official co-conspirator because he

was not “closely connected” to the top Air Force officials Fitzgerald knew he could

sue. Id. The White House official was in a different organization than the Air Force

officials—in the Court’s words, “in a different center of power”—and had no “close

connection” to the Air Force officials besides his tortious acts furthering the

conspiracy. Id.

      Here, Defendants, like the district court, analogize Eringer and Defendants to

the Air Force superior and “lesser fry” officials in Fitzgerald rather than to an Air

Force official on the one hand and a White House official on the other. (Defs. Br. 44-

46; A489.) But, like the district court, Defendants’ only argument for doing so is

that Eringer contracted with Defendants—on a single occasion, at arms’-length—to

produce the defamatory Dossier. That does not make them “closely connected.”

      The fact that Defendants and Eringer both committed tortious acts against

Mr. Chandler does not make them “closely connected.” In Fitzgerald, both the Air

Force and White House defendants conspired together to cause the same harm to




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Fitzgerald, but that did not render them “closely connected.” 553 F.3d at 229.9

Similarly, in Hobson, this Court held that FBI agents and D.C. policemen who

conspired together to infringe the plaintiff’s civil rights were not “closely connected”

despite their joint tortious conduct. 737 F.2d at 36. And in Richards v. Mileski, 662

F.2d 65, 70 (D.C. Cir. 1981), this Court held State Department employees and an

informant who conspired against the plaintiff were not “closely connected” despite

their joint tortious conduct. It follows that joint tortious conduct cannot as a matter

of law render two persons “closely connected” under Fitzgerald. Defendants offer

no caselaw holding otherwise. And Defendants and Eringer did not even commit

the same tortious act causing the same harm to Mr. Chandler, thus further distancing

them from each other.

      Likewise, the fact that Eringer contracted with Defendants on a single

occasion to produce the Dossier does not render them “closely connected.”

Fitzgerald has been uniformly interpreted to require a relationship between two

people for them to be “closely connected,” and where such relationship is lacking,




9
  Defendants try to distinguish Fitzgerald by asserting that the “White House aide
who was denied summary judgment in Fitzgerald ... had no role in the dissemination
of false information about the plaintiff.” (Defs. Br. 45.) But Defendants’ distinction
is incorrect, as the White House official (like the Air Force officials) did make false
and disparaging comments about Fitzgerald, including accusing him of disloyalty.
Fitzgerald, 553 F.2d at 225. And, in any event, the distinction is irrelevant to the
(lack of) relationship between the White House official and Air Force officials.


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Fitzgerald is inapplicable. E.g., Hobson, 737 F.2d at 36 (members of FBI “closely

connected” with each other but not with policemen co-conspirators); Richards, 662

F.2d at 70 (State Department employees “closely connected” with each other but not

with informant co-conspirator). Defendants cite no caselaw holding otherwise.10

And that is not surprising because entry into a “single transaction” (here, to produce

the Dossier) does not create a relationship between two parties. E.g., Chung v.

NANA Dev. Corp., 783 F.2d 1124, 1128 (4th Cir. 1986); Alacrity Renovation Servs.,

LLC v. Long, No. 16-cv-206, 2016 WL 4150011, at *7 (W.D.N.C. Aug. 3, 2016).

Eringer and Defendants are not members of the same organization, group, or

company and have no ongoing relationship whatsoever. They are not “closely

connected.”

      C.      The District Court Reversibly Erred in Holding That
              Mr. Chandler Was on Inquiry Notice of His Claims Against
              Defendants and Would, Through the Exercise of Reasonable
              Diligence, Have Discovered His Claims Against Them More Than
              a Year Before He Filed This Case.

      Finally, the district court erroneously held that Mr. Chandler (1) was “put on

inquiry notice of Defendants’ role [in authoring and publishing the Dossier] when

he learned of” Eringer’s 2009 lawsuit against Prince Albert, 2014 book, and 2016



10
   The one case Defendants claim holds otherwise, Gardel v. SK&A Structural
Eng’rs PLLC, 286 F. Supp. 3d 120 (D.D.C. 2017), is a run-of-the-mill discovery rule
case that does not involve Fitzgerald or the issue of whether knowledge of a claim
against one person accrues a claim against another.


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blog post excerpting that book, and (2) would have discovered the Dossier and

Defendants’ authorship and secret publication of it through a reasonably diligent

investigation. (A492-93; Principal Br. 48-55.) Defendants simply parrot the district

court’s erroneous reasoning.

      First, the district court erred in holding as a matter of law that Eringer’s 2009

lawsuit, 2014 book, and 2016 blog post—none of which mention Defendants or their

Dossier—put Mr. Chandler on inquiry notice of the Dossier’s existence and

Defendants’ secret authorship and publication thereof. (A492-93.)

      The only reason that the district court (and Defendants) offer for Eringer’s

lawsuit putting Mr. Chandler on inquiry notice of the existence of the Dossier and

Defendants’ authorship thereof is that Eringer’s complaint—in which Eringer

repeatedly takes full credit for his investigation of Mr. Chandler11—states that

“Eringer possesses documents on this matter” of “Eringer[’s] intensive[]

investigat[ion]” of Mr. Chandler. (A492 (quoting A310, ¶13); Defs. Br. 38-42.) But

Eringer’s statement about his purported documents is “pure hearsay” that “counts

for nothing” and may not be considered by the court at summary judgment. McGrath

v. Clinton, 666 F.3d 1377, 1382-83 (D.C. Cir. 2012); accord Hurd v. District of

Columbia, 864 F.3d 671, 686 (D.C. Cir. 2017) (court may not “rely on [a complaint]



11
  A310, ¶13 (“Eringer intensively investigated ... Richard and Christopher
Chandler[.]”)


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for the truth of the matter asserted”).12 Indeed, such hearsay may not be accepted

because it is inherently unreliable, and such an inherently unreliable statement could

not put Mr. Chandler on inquiry notice of the existence of the Dossier and

Defendants’ authorship thereof. Navab-Safavi v. Broad. Bd. of Governors, 650 F.

Supp. 2d 40, 60 n.9 (D.D.C. 2009) (“[I]t would have been unreasonable for [party]

to act solely upon [] potentially unreliable hearsay.”), aff’d sub nom. Navab-Safavi

v. Glassman, 637 F.3d 311 (D.C. Cir. 2011). That is especially the case here, where

Eringer made his statement in the context of his lawsuit in which he claims credit

for his investigations and makes generic references to “documents” referring to no

fewer than twenty-eight different purported investigations described in his

complaint. (A309-32.)

      Likewise, the only reason that the district court (and Defendants) offer for

Eringer’s book (and blog post) putting Mr. Chandler on inquiry notice of the

existence of the Dossier and Defendants’ authorship thereof is that Eringer’s use of

“‘we’ and ‘our’ when referring to his investigation of the Chandler brothers” is an

“obvious clue[]” Eringer did not act alone in his investigation. (A493; Defs. Br. 41.)

But a reasonable reader could understand Eringer—whose “pure hearsay” may not

be assumed true—to simply be using the “royal we” in places in his book. Rawlins



12
  The fact the complaint was verified does not change this. E.g., Rowland v.
Rowland, No. 04-cv-2068, 2005 WL 3096169, at *4 (N.D. Ga. Nov. 18, 2005).


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v. Kansas, 714 F.3d 1189, 1194 (10th Cir. 2013); Chicago Manual of Style ¶5.51

(15th ed. 2003). And reasonable readers could likewise understand Eringer’s use of

“we” to refer to Eringer and Prince Albert, because Eringer makes clear in his book

(and blog post) that Eringer (purportedly) investigated Mr. Chandler at the direction

of Prince Albert—such that, from Eringer’s perspective, it was “our” (Eringer’s and

Prince Albert’s) investigation. Simply put, it is untenable to conclude, as a matter

of law, that Eringer’s book and blog post, which never mention Defendants or their

Dossier, put Mr. Chandler on inquiry notice of the Dossier’s existence and

Defendants’ authorship thereof.

      Second, even if Mr. Chandler were on inquiry notice, the district court erred

by holding that through the exercise of reasonable diligence Mr. Chandler “surely

would have discovered the [Dossier] ... that [Defendants] w[ere] its author,” and that

Defendants secretly published it to Eringer.       (A489-90, A493.)      Notably, as

Defendants acknowledge, the relevant question is whether Mr. Chandler would have

discovered these facts, not if he could or might have discovered them. Diamond,

680 A.2d at 381; Defs. Br. 49.

      The district court’s only basis for its holding on this point—and Defendants’

only argument for affirmance—is that “reasonable diligence” required Mr. Chandler

to sue Eringer for defamation and obtain court-ordered discovery because that

discovery (purportedly) would have revealed the Dossier’s existence and



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Defendants’ authorship and secret publication of it. (A489-90, A493; Defs. Br. 49-

53.) But “[i]t is settled that reasonable diligence does not require a person to

commence a lawsuit in order to procure court-ordered discovery of concealed facts.”

Baskin v. Hawley, 807 F.2d 1120, 1131 (2d Cir. 1986); accord Locke v. Allstate Ins.

Co., 145 F.3d 1346, 1998 WL 193135, at *2 (10th Cir. 1998) (unpublished); Foltz

v. U.S. News & World Report, Inc., 627 F. Supp. 1143, 1150 (D.D.C. 1986);

Principal Br. 51-54. Defendants cannot avoid this settled law, and the cases they

cite as holding to the contrary do no such thing.13

      Notably, this law makes sense, because even if Mr. Chandler had sued

Eringer, there is no guarantee that he would have obtained discovery and no

guarantee that that discovery would have revealed the Dossier’s existence and

Defendants’ authorship and secret publication of it. See Whitmore v. Arkansas, 495

U.S. 149, 159-60 (1990) (“It is just not possible for a litigant to prove in advance

that the judicial system will lead to any particular result in his case.”). To obtain

discovery, Mr. Chandler would have had to overcome Eringer’s motions to



13
  Defendants cite Chappelle, but there, unlike here, the plaintiff knew of her cause
of action against the defendant (injury, cause-in-fact, and wrongdoing), and simply
did not know the defendant’s identity. 442 A.2d at 159. Likewise, in Fitzgerald the
plaintiff knew of his cause of action against the top Air Force officials and could
have sued them and amended his complaint if discovery revealed the involvement
of the “closely connected” “lesser fry” Air Force officials. 553 F.2d at 229. And
Defendants omit key language from their quotation of Brin v. S.E.W. Inv’rs, 902
A.2d 784, 794 (D.C. 2006), which is wholly inapposite.


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dismiss—and secure his cooperation in discovery—but Eringer may have had

meritorious defenses to Mr. Chandler’s claims. With regard to his 2009 complaint,

Eringer could have invoked the absolute judicial proceedings privilege.        E.g.,

Finkelstein, Thompson & Loughran v. Hemispherx Biopharma, Inc., 774 A.2d 332,

338 (D.C. 2001).      Defendants assert that Eringer published his defamatory

accusations as part of work for a foreign state (Monaco) (Defs. Br. 32), and, if so,

he could have raised a Foreign Sovereign Immunities Act defense. 28 U.S.C.

§ 1605(a)(5)(B). And Eringer may have raised other defenses. Or Eringer—who

has had no fewer than five default judgments entered against him14—may have

simply refused to participate in the lawsuit. Or Eringer may not have possessed

documents reflecting the Dossier and Defendants’ connection to it. (A274, ¶63;

A403, ¶2; A467-68.)

      Defendants complain that this is “speculation” about how a lawsuit against

Eringer may have turned out. But that is exactly the point. The question under

Diamond is whether Mr. Chandler would have discovered the Dossier and

Defendants’ authorship and publication of it through a lawsuit against Eringer—not

whether he could have. 680 A.2d at 381. Because the outcome of that litigation is




14
          See      https://tinyurl.com/y6rpea4q;      https://tinyurl.com/y4vj7pbf;
https://tinyurl.com/y6ysexfg;                        https://tinyurl.com/yx8n6b6q;
https://tinyurl.com/y2xcw82o.


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inherently uncertain, the district court reversibly erred in holding, as a matter of law,

that it would have led Mr. Chandler to discover the Dossier and Defendants’

authorship and publication of it.

                                    CONCLUSION

      For the foregoing reasons, Plaintiff-Appellant Chandler respectfully requests

that the Court reverse the district court’s judgment and remand this case with

instructions that the parties proceed to full discovery.




Date: September 8, 2020                  Respectfully Submitted,

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  /s/ Joseph. R. Oliveri
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      I hereby certify that a true and correct copy of this Reply Brief of Plaintiff-

Appellant was filed with the Clerk of the Court using the Court’s CM/ECF system

on September 8, 2020, which will send notification of such filing to counsel for all

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